Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 1 of 10




             Exhibit 15
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 2 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 3 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 4 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 5 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 6 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 7 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 8 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 9 of 10
Case 5:18-cv-00920-G Document 1-15 Filed 09/18/18 Page 10 of 10
